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 Attorneys for Defendant Colliers International

                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


  KATE GRANT and KARMANN KASTEN,
                                                            DEFENDANT COLLIERS
  Plaintiffs,                                          INTERNATIONAL’S AMENDED RULE
                                                               7.1 DISCLOSURE
  V.

  KEVIN LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                         Civil No. 2:23-cv-00936
  SMITH; SPENCER TAYLOR; BLAKE                          Judge Ann Marie McIff Allen
  MCDOUGAL; and MARY STREET,                            Magistrate Judge Cecilia Romero

                 Defendants.


         Pursuant to the Court’s orders of February 19 and 26, 2025, Defendant Colliers

 International makes this amended and supplemental disclosure under Fed. R. Civ. P. 7.1.

         “Colliers International” was misnamed in plaintiffs’ Complaint in this action and does not

 exist. Colliers International Intermountain, LLC is a Delaware limited liability company whose

 principal place of business is in Salt Lake County, Utah, and whose majority member is Colliers

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 International Holdings (USA), Inc., a Delaware corporation. The other members of Colliers

 International Intermountain, LLC are individual persons, to wit: Brandon D. Fugal, Tim

 Simonsen, and Stuart Thain, who reside in and are citizens of Utah.

        Jurisdiction in this case is not based on diversity under 28 U.S.C. § 1332(a).

        DATED: February 27, 2025.
                                              DENTON DURHAM JONES PINEGAR P.C.


                                              /s/ James Gilson
                                              James D. Gilson
                                              Andrew V. Wright
                                              David B. Nielson
                                              Attorneys for Defendant Colliers International




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of February 2025, I caused a true and correct copy of

  the foregoing to be filed via the Court’s electronic filing system, which automatically provides

  notice to counsel of record.


                                              /s/ Kim Altamriano




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